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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

IN RE: BOY SCOUTS OF AMERICA and                              Chapter 11
DELAWARE BSA, LLC,                                            Case No. 20-10343-LSS
                                                              (Jointly Administered)
                      Debtors.


NATIONAL UNION FIRE INSURANCE,                                Civ. No. 22-1237-RGA
COMP ANY OF PITTSBURGH, PA, et al,                            (Lead Case)

                      Appellants,                             Civ. Nos. 22-1238-RGA,
              V.                                              22-1 239-RGA, 22-1240-RGA,
                                                              22-1 241-RGA, 22-1242-RGA,
BOY SCOUTS OF AMERICA and                                     22-1243-RGA, 22-1244-RGA,
DELAWARE BSA, LLC, et al. ,                                   22-1245-RGA, 22-1 246-RGA,
                                                              22-1247-RGA, 22-1249-RGA,
                                                              22-1250-RGA, 22-1251-RGA,
                      Appellees.                              22-1 252-RGA, 22-1258-RGA,
                                                              & 22-1263-RGA (Consolidated)


                                         ORDER

       For the reasons set forth in the accompanying Opinion, it is hereby ORDERED:

       1.     The Motion to Supplement the Record (D.I. 123) is hereby DENIED.

       2.     The Supplemental Findings of Fact and Conclusions of Law, dated September 8,

2022 (D.I. 1-1) ("Confirmation Order"), is hereby AFFIRMED.

       3.     The Clerk is directed to CLOSE lead case Civ. No. 22-1237-RGA along with the

consolidated cases.
                                                                  A
                                                 Entered this   J.I d ay of March, 2023.
